Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 1 of 8 PageID #: 46




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

CHRISTOPHER DELMONICO, Derivatively on
Behalf of Nominal Defendant SEQUENTIAL
BRANDS GROUP, INC.,
                                          Case No. 21-cv-60-CFC
                    Plaintiff,
     v.

YEHUDA SHMIDMAN, KAREN MURRAY,
GARY   KLEIN,  ANDREW       COOPER,
WILLIAM SWEEDLER, AL GOSSETT,
AARON HOLLANDER, GARY JOHNSON,
STEWART LEONARD, JR., MARTHA
STEWART, RODNEY S. COHEN, and DAVID
CONN,

                    Defendants,

     and

SEQUENTIAL BRANDS GROUP, INC.,

               Nominal Defendant.
PETER D’ARCY, derivatively on behalf of
SEQUENTIAL BRANDS GROUP, INC.,
                                          Case No. 21-cv-862-CFC
     Plaintiff,

     vs.

YEHUDA SHMIDMAN, KAREN MURRAY,
GARY KLEIN, ANDREW COOPER, RODNEY
S. COHEN, DAVID CONN, AL GOSSETT,
AARON HOLLANDER, GARY JOHNSON,
STEWART LEONARD, JR., MARTHA
STEWART, and WILLIAM SWEEDLER

     Defendants,

     and

SEQUENTIAL BRANDS GROUP, INC.,

             Nominal Defendant.



                                    1
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 2 of 8 PageID #: 47




  JOINT STIPULATION [AND PROPOSED ORDER] CONSOLIDATING RELATED
              ACTIONS AND APPOINTING CO-LEAD COUNSEL

       WHEREAS, on January 20, 2021, Plaintiff Christopher Delmonico filed a shareholder

derivative action on behalf of Nominal Defendant Sequential Brands Group, Inc. (“Sequential” or

the “Company”) in this Court alleging breaches of fiduciary duties, and violations of Section14(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), against Defendants Yehuda

Shmidman, Karen Murray, Gary Klein, Andrew Cooper, William Sweedler, Al Gossett, Aaron

Hollander, Gary Johnson, Stewart Leonard, Jr., Martha Stewart, Rodney S. Cohen, and David

Conn (the “Individual Defendants,” together with Sequential, the “Defendants”), captioned

Delmonico v. Shmidman, et al., Case No. 21-cv-60-CFC (the “Delmonico Action”);

       WHEREAS, on February 17, 2021, the parties in the Delmonico Action stipulated to stay

the proceedings in the Delmonico Action pending the resolution of a motion to dismiss in a related

federal securities fraud action filed on December 11, 2020 in the United State District Court for

the Southern District of New York, captioned Securities and Exchange Commission v. Sequential

Brands Group, Inc., Case No. 1:20-cv-10471 (JPO), which the Court so ordered on February 18,

2021 (the “Stay Order”);

       WHEREAS, on June 16, 2021, Plaintiff Peter D’Arcy (together with Plaintiff Christopher

Delmonico, “Plaintiffs;” Plaintiffs and Defendants together, the “Parties”) filed a shareholder

derivative action on behalf of Nominal Defendant Sequential in this Court alleging breaches of

fiduciary duties, unjust enrichment, abuse of control, gross mismanagement, waste of corporate

assets, violations of Section 14(a) the Exchange Act, and for contribution under Sections 10(b)

and 21D of the Exchange Act against the Individual Defendants, captioned D’Arcy v. Shmidman,

et al., Case No. 21-cv-862-CFC (the “D’Arcy Action”);

       WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common question of law



                                                2
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 3 of 8 PageID #: 48




or fact,” the Court may “(1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay”;

          WHEREAS, Plaintiffs agree that the Delmonico Action and the D’Arcy Action (together

the “Related Derivative Actions”) challenge the same alleged conduct by the same Company

directors and officers and involve substantially the same questions of law and fact;

          WHEREAS, the Parties therefore respectfully submit that consolidation of the Related

Derivative Actions is appropriate;

          WHEREAS, to avoid potentially duplicative actions and to prevent any waste of the

Court’s and the Parties’ resources, the Parties agree that the Related Derivative Actions should be

consolidated for all purposes, including pre-trial proceedings and trial, into a single consolidated

action;

          WHEREAS, in order to realize the efficiencies made possible by consolidation of the

Related Derivative Actions, Plaintiffs agree that The Brown Law Firm, P.C. and Glancy Prongay

& Murray LLP, the resumes of which are attached hereto as Exhibit A and Exhibit B, respectively,

shall be designated as Co-Lead Counsel representing Plaintiffs in the consolidated action;

          WHEREAS, without waiving any rights, arguments, or defenses, Defendants agree the

Related Derivative Actions should be consolidated and take no position regarding appointment of

Co-Lead Counsel; and

          WHEREAS, this stipulation is not a waiver of any of the Parties’ rights, remedies, claims

or defenses.

          WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate, and

respectfully request that the Court enter an order as follows:

          1.     The Stay Order in the Delmonico Action is temporarily lifted for the exclusive




                                                  3
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 4 of 8 PageID #: 49




purpose of the filing of this stipulation and the Court’s ruling thereon.

       2.      Defendants hereby accept service of the complaints filed in the Related Derivative

Actions.

       3.      The following actions are hereby consolidated for all purposes, including pre-trial

proceedings and trial, under Case No. 21-cv-60-CFC (the “Consolidated Action”):

  Case Name                           Case Number                       Date Filed
  Delmonico v. Shmidman, et al.       21-cv-60-CFC                      January 20, 2021

  D’Arcy v. Shmidman, et al.          21-cv-862-CFC                     June 16, 2021

       4.      Every pleading filed in the Consolidated Action, or in any separate action included

herein, must bear the following caption:

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE SEQUENTIAL BRANDS GROUP,                     C.A. No. 21-cv-60-CFC
INC. DERIVATIVE LITIGATION




       5.      All papers filed in connection with the Consolidated Action will be maintained in

one file under C.A. No. 21-cv-60-CFC.

       6.      Co-Lead Counsel for Plaintiffs for the conduct of the Consolidated Action shall be:

                                THE BROWN LAW FIRM, P.C.
                                          Timothy Brown
                                 767 Third Avenue, Suite 2501
                                       New York, NY 10017
                                   Telephone: (516) 922-5427
                                   Facsimile: (516) 344-6204
                               Email: tbrown@thebrownlawfirm.net

                           GLANCY PRONGAY & MURRAY LLP
                               Benjamin I. Sachs-Michaels
                                    712 Fifth Avenue
                               New York, New York 10019
                                Telephone: (212) 935-7400


                                                  4
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 5 of 8 PageID #: 50




                             E-mail: bsachsmichaels@glancylaw.com

                                                -and-

                                        Robert V. Prongay
                                         Pavithra Rajesh
                                1925 Century Park East, Suite 2100
                                  Los Angeles, California 90067
                                   Telephone: (310) 201-9150
                                E-mail: rprongay@glancylaw.com

       7.      Plaintiffs’ Co-Lead Counsel shall have the sole authority to speak for plaintiffs in

all matters regarding pre-trial procedure, trial, and settlement negotiations and shall make all work

assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation

and to avoid duplicative or unproductive effort.

       8.      Co-Lead Counsel will be responsible for coordinating all activities and appearances

on behalf of plaintiffs. No motion, request for discovery, or other pre-trial or trial proceedings will

be initiated or filed by any plaintiffs except through Co-Lead Counsel.

       9.      Farnan LLP shall be appointed Liaison Counsel in the Consolidated Action.

       10.     Liaison Counsel shall be available and responsible for communications to and from

this Court, including distributing orders and other directions from the Court to counsel.

       11.     Defendants’ counsel may rely upon all agreements made with Co-Lead Counsel, or

other duly authorized representative of Co-Lead Counsel, and such agreements shall be binding

on all plaintiffs in the Consolidated Action.

       12.     This Order shall apply to each related shareholder derivative action involving the

same or substantially the same allegations, claims, and defendants, and arising out of the same, or

substantially the same, transactions or events as the Consolidated Action, that is subsequently filed

in, removed to, reassigned to, or transferred to this Court (“Potential Subsequent Related

Derivative Action”). When a shareholder derivative action that properly belongs as part of In re



                                                   5
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 6 of 8 PageID #: 51




Sequential Brands Group, Inc. Derivative Litigation, C.A. No. 21-cv-60-CFC, is hereafter filed in

this Court, removed to this Court, reassigned to this Court, or transferred to this Court from another

court, this Court requests the assistance of counsel in calling to the attention of the Clerk of the

Court the filing, removal, reassignment, or transfer of any case that might properly be consolidated

as part of In re Sequential Brands Group, Inc. Derivative Litigation, C.A. No. 21-cv-60-CFC, and

counsel are to assist in assuring that counsel in subsequent actions receive notice of this order.

Unless otherwise ordered, the terms of all orders, rulings, and decisions in the Consolidated Action

shall apply to Potential Subsequent Related Derivative Actions filed in this Court, removed to this

Court, reassigned to this Court, or transferred to this Court from another court.

       13.     All papers and documents previously filed and/or served in the Related Derivative

Actions shall be deemed a part of the record in the Consolidated Action.

       14.     The Consolidated Action is hereby stayed pursuant to the terms of the Stay Order

in the Delmonico Action, which is hereby entered as an order in the Consolidated Action.

       15.     This stipulation is without waiver or prejudice to any and all claims, defenses,

arguments, motions, or any requests for other relief that would otherwise be available to the Parties

in the Related Derivative Actions.

       IT IS SO STIPULATED.

 DATED: June 29, 2021                            Respectfully submitted,

                                                 FARNAN LLP

                                                 /s/ Brian E. Farnan________________________
                                                 Brian E. Farnan (Bar No. 4089)
                                                 Michael J. Farnan (Bar No. 5165)
                                                 919 N. Market St., 12th Floor
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 777-0300
                                                 Facsimile: (302) 777-0301
                                                 Email: bfarnan@farnanlaw.com


                                                  6
Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 7 of 8 PageID #: 52




                                           mfarnan@farnanlaw.com

                                   Counsel for Plaintiffs and [Proposed] Liaison
                                   Counsel

                                   THE BROWN LAW FIRM, P.C.
                                   Timothy Brown
                                   767 Third Avenue, Suite 2501
                                   New York, NY 10017
                                   Telephone: (516) 922-5427
                                   Facsimile: (516) 344-6204
                                   Email: tbrown@thebrownlawfirm.net

                                   Counsel for Plaintiff Peter D’Arcy and
                                   [Proposed] Co-Lead Counsel for Plaintiffs

                                   GLANCY PRONGAY & MURRAY LLP
                                   Benjamin I. Sachs-Michaels
                                   712 Fifth Avenue
                                   New York, New York 10019
                                   Telephone: (212) 935-7400
                                   E-mail: bsachsmichaels@glancylaw.com

                                   -and-

                                   Robert V. Prongay
                                   Pavithra Rajesh
                                   1925 Century Park East, Suite 2100
                                   Los Angeles, California 90067
                                   Telephone: (310) 201-9150
                                   E-mail: rprongay@glancylaw.com

                                   Counsel for Plaintiff Christopher Delmonico
                                   and [Proposed] Co-Lead Counsel

                                   THE ROSEN LAW FIRM, P.A.
                                   Phillip Kim
                                   275 Madison Avenue, 40th Floor
                                   New York, NY 10016
                                   Telephone: (212) 686-1060
                                   Facsimile: (212) 202-3827
                                   Email: pkim@rosenlegal.com

                                   Additional Counsel for Plaintiff Peter D’Arcy

                                   THE LAW OFFICES OF FRANK R.
                                   CRUZ
                                   Frank R. Cruz


                                    7
  Case 1:21-cv-00060-CFC Document 6 Filed 06/29/21 Page 8 of 8 PageID #: 53




                                        1999 Avenue of the Stars, Suite 1100
                                        Los Angeles, CA 90067
                                        Telephone: (310) 914-5007

                                        Additional Counsel for Plaintiff Christopher
                                        Delmonico
DATED: June 29, 2021                    PACHULSKI STANG ZIEHL & JONES
                                        LLP

                                        /s/ Laura Davis Jones ___________
                                        Laura Davis Jones (Bar. No. 2436)
                                        919 North Market Street, 17th Floor
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 778-6401
                                        Email: ljones@pszjlaw.com

                                        GIBSON, DUNN & CRUTCHER LLP
                                        Mark A. Kirsch
                                        Mary Beth Maloney
                                        200 Park Avenue
                                        New York, New York 10166
                                        Telephone: (212) 351-4000
                                        Email: mkirsch@gibsondunn.com
                                               mmaloney@gibsondunn.com

                                        Counsel for Sequential
DATED: June 29, 2021
                                        RICHARDS, LAYTON & FINGER, P.A.

                                        /s/ Daniel E. Kaprow
                                        Rudolf Koch (Bar. No. 4947)
                                        Daniel E. Kaprow (Bar. No. 6295)
                                        920 North King Street
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 651-7721
                                        Email: koch@rlf.com
                                               kaprow@rlf.com

                                        Counsel for Individual Defendants
               ⁎                         ⁎                           ⁎

SO ORDERED this __ day of ____, 2021.

                                              _____________________________
                                                The Honorable Colm F. Connolly
                                                 United States District Judge



                                        8
